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                            UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF PENNSYLVANIA

DEBORAH LAUFER, Individually,            :
                                         :
               Plaintiff,                :
                                         :
v.                                       :               Case No.
                                         :
SUNRISE MOTOR INN, LLC, A Pennsylvania :
Limited Liability Company,               :
                                         :
               Defendant.                :
________________________________________ :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues Defendant,

SUNRISE MOTOR INN, LLC, A Pennsylvania Limited Liability Company, (sometimes referred

to as “Defendant”), for Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant

to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Florida, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Instead, Plaintiff

               is bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to

               operate. Plaintiff is also vision impaired. When ambulating beyond the comfort of

               her own home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires

               accessible handicap parking spaces located closet to the entrances of a facility. The

               handicap and access aisles must be of sufficient width so that she can embark and
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        disembark from a ramp into her vehicle. Routes connecting the handicap spaces and

        all features, goods and services of a facility must be level, properly sloped,

        sufficiently wide and without cracks, holes or other hazards that can pose a danger

        of tipping, catching wheels or falling. These areas must be free of obstructions or

        unsecured carpeting that make passage either more difficult or impossible. Amenities

        must be sufficiently lowered so that Plaintiff can reach them. She has difficulty

        operating door knobs, sink faucets, or other operating mechanisms that tight

        grasping, twisting of the wrist or pinching. She is hesitant to use sinks that have

        unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks must

        be at the proper height so that she can put her legs underneath to wash her hands. She

        requires grab bars both behind and beside a commode so that she can safely transfer

        and she has difficulty reaching the flush control if it is on the wrong side. She has

        difficulty getting through doorways if they lack the proper clearance.

2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

        "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

        determining whether places of public accommodation and their websites are in

        compliance with the ADA.

3.      According to the county property records, Defendant owns a place of public

        accommodation as defined by the ADA and the regulations implementing the ADA,

        28 CFR 36.201(a) and 36.104. The place of public accommodation that Defendant

        owns is a place of lodging known as OYO Hotel Hershey, 1733 East Chocolate




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        Avenue, Hershey, PA 17033, and is located in the County of Dauphin, (hereinafter

        "Property").

4.      Venue is properly located in this District because the subject property is located in

        this district.

5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

        original jurisdiction over actions which arise from Defendant’s violations of Title III

        of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C.

        § 2201 and § 2202.

6.      As the owner of the subject place of lodging, Defendant is required to comply with

        the ADA. As such, Defendant is required to ensure that its place of lodging is in

        compliance with the standards applicable to places of public accommodation, as set

        forth in the regulations promulgated by the Department Of Justice. Said regulations

        are set forth in the Code Of Federal Regulations, the Americans With Disabilities

        Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

        incorporated by reference into the ADA. These regulations impose requirements

        pertaining to places of public accommodation, including places of lodging, to ensure

        that they are accessible to disabled individuals.

7.      More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

        requirement:

        Reservations made by places of lodging. A public accommodation that owns,
        leases (or leases to), or operates a place of lodging shall, with respect to
        reservations made by any means, including by telephone, in-person, or through a
        third party -
                (I) Modify its policies, practices, or procedures to ensure that individuals
                with disabilities can make reservations for accessible guest rooms during

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                the same hours and in the same manner as individuals who do not need
                accessible rooms;
                (ii) Identify and describe accessible features in the hotels and guest rooms
                offered through its reservations service in enough detail to reasonably
                permit individuals with disabilities to assess independently whether a
                given hotel or guest room meets his or her accessibility needs;
                (iii) Ensure that accessible guest rooms are held for use by individuals
                with disabilities until all other guest rooms of that type have been rented
                and the accessible room requested is the only remaining room of that type;
                (iv) Reserve, upon request, accessible guest rooms or specific types of
                guest rooms and ensure that the guest rooms requested are blocked and
                removed from all reservations systems; and
                (v) Guarantee that the specific accessible guest room reserved through its
                reservations service is held for the reserving customer, regardless of
                whether a specific room is held in response to reservations made by
                others.

8.       These regulations became effective March 15, 2012.

9.       Defendant, either itself or by and through a third party, accepts reservations for its

         hotel online through one or more websites. The purpose of these websites is so

         that members of the public may reserve guest accommodations and review

         information pertaining to the goods, services, features, facilities, benefits,

         advantages, and accommodations of the Property. As such, these websites are

         subject to the requirements of 28 C.F.R. Section 36.302(e).

10.      Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

         purpose of reviewing and assessing the accessible features at the Property and

         ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

         her accessibility needs. However, Plaintiff was unable to do so because Defendant

         failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

         As a result, Plaintiff was deprived the same goods, services, features, facilities,

         benefits, advantages, and accommodations of the Property available to the general

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   public. Plaintiff's specific allegations with regard to each of the websites she

   visited are as follows:

   a.     The website located at www.booking.com did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for

          booking of accessible rooms and provided insufficient information as to

          whether the rooms or features at the hotel are accessible. Hotel amenities,

          room types and amenities are all listed in detail. No information was given

          about accessibility in the hotel.

   b.     The website located at www.expedia.com did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for

          booking of accessible rooms and provided insufficient information as to

          whether the rooms or features at the hotel are accessible. Hotel amenities,

          room types and amenities are all listed in detail. No information was given

          about accessibility in the hotel.

   c.     The website located at www.hotels.com did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for

          booking of accessible rooms and provided insufficient information as to

          whether the rooms or features at the hotel are accessible. Hotel amenities,

          room types and amenities are all listed in detail. No information was given

          about accessibility in the hotel.

   d.     The website located at www.orbitz.com did not comply with the

          Regulation because it did not identify accessible rooms, did not allow for


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                booking of accessible rooms and provided insufficient information as to

                whether the rooms or features at the hotel are accessible. Hotel amenities,

                room types and amenities are all listed in detail. No information was given

                about accessibility in the hotel.

11.      In the near future, Plaintiff intends to revisit Defendant's websites and/or online

         reservations system in order to test them for compliance with 28 C.F.R. Section

         36.302(e) and/or to utilize the websites to reserve a guest room and otherwise

         avail herself of the goods, services, features, facilities, benefits, advantages, and

         accommodations of the Property.

12.      Plaintiff is continuously aware that the subject websites remain non-compliant

         and that it would be a futile gesture to revisit the websites as long as those

         violations exist unless she is willing to suffer additional discrimination.

13.      The violations present at Defendant's websites infringe Plaintiff's right to travel

         free of discrimination and deprive her of the information required to make

         meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

         frustration and humiliation as the result of the discriminatory conditions present at

         Defendant's website. By continuing to operate the websites with discriminatory

         conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

         and deprives Plaintiff the full and equal enjoyment of the goods, services,

         facilities, privileges and/or accommodations available to the general public. By

         encountering the discriminatory conditions at Defendant's website, and knowing

         that it would be a futile gesture to return to the websites unless she is willing to


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         endure additional discrimination, Plaintiff is deprived of the same advantages,

         privileges, goods, services and benefits readily available to the general public. By

         maintaining a websites with violations, Defendant deprives Plaintiff the equality

         of opportunity offered to the general public. Defendant's online reservations

         system serves as a gateway to its hotel. Because this online reservations system

         discriminates against Plaintiff, it is thereby more difficult to book a room at the

         hotel or make an informed decision as to whether the facilities at the hotel are

         accessible.

14.      Plaintiff has suffered and will continue to suffer direct and indirect injury as a

         result of Defendant’s discrimination until Defendant is compelled to modify its

         websites to comply with the requirements of the ADA and to continually monitor

         and ensure that the subject websites remain in compliance.

15.      Plaintiff has a realistic, credible, existing and continuing threat of discrimination

         from Defendant’s non-compliance with the ADA with respect to these websites.

         Plaintiff has reasonable grounds to believe that she will continue to be subjected

         to discrimination in violation of the ADA by Defendant.

16.      Defendant has discriminated against Plaintiff by denying her access to, and full

         and equal enjoyment of, the goods, services, facilities, privileges, advantages

         and/or accommodations of the subject website.

17.      Plaintiff and all others similarly situated will continue to suffer such

         discrimination, injury and damage without the immediate relief provided by the

         ADA as requested herein.


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18.      Defendant has discriminated against Plaintiff by denying her access to full and

         equal enjoyment of the goods, services, facilities, privileges, advantages and/or

         accommodations of its place of public accommodation or commercial facility in

         violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore,

         Defendant continues to discriminate against Plaintiff, and all those similarly

         situated by failing to make reasonable modifications in policies, practices or

         procedures, when such modifications are necessary to afford all offered goods,

         services, facilities, privileges, advantages or accommodations to individuals with

         disabilities; and by failing to take such efforts that may be necessary to ensure

         that no individual with a disability is excluded, denied services, segregated or

         otherwise treated differently than other individuals because of the absence of

         auxiliary aids and services.

19.      Plaintiff is without adequate remedy at law and is suffering irreparable harm.

         Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

         fees, costs and litigation expenses from Defendant pursuant to 42 U.S.C. § 12205

         and 28 CFR 36.505.

20.      Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

         Plaintiff Injunctive Relief, including an order to require Defendant to alter the

         subject websites to make them readily accessible and useable to Plaintiff and all

         other persons with disabilities as defined by the ADA and 28 C.F.R. Section

         36.302(e); or by closing the websites until such time as Defendant cures its

         violations of the ADA.


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WHEREFORE, Plaintiff respectfully requests:

      a.      The Court issue a Declaratory Judgment that determines that Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.      Injunctive relief against Defendant including an order to revise its websites to

              comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

              maintain the websites to ensure that it remains in compliance with said requirement.

      c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

      d.      Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

                                            Respectfully Submitted,

                                            THOMAS B. BACON, P.A.




                                            By:
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Date: November 19, 2020




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___________________________________________________________________________________________________________________________________________________________


                        UNITED STATES DISTRICT COURT
                                                       for the
                                         MIDDLE DISTRICT OF PENNSYLVANIA

  DEBORAH LAUFER, Individually,                                                 )
           Plaintiff,                                                           )
  v.                                                                            )      Civil Action No.
                                                                                )
  SUNRISE MOTOR INN, LLC, A                                                     )
  Pennsylvania Limited Liability Company,                                       )
                Defendant.                                                      )


                                                SUMMONS IN A CIVIL ACTION

To:                     SUNRISE MOTOR INN, LLC
                        1733 East Chocolate Ave.
                        Hershey, PA 17033

        A lawsuit has been filed against you.
        Within 21 days after service of this summons on you (not counting the day you received
it) — or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the
plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                John F. Ward
                Thomas B. Bacon, P.A.
                329 S. Devon Ave.
                Wayne, PA 19087
                610-952-0219

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

                                                                                                CLERK OF COURT


Date: ________________________                                                                  ____________________________
                                                                                                Signature of Clerk or Deputy
